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 1   ROBIN J. SAMUEL (SBN 173090)
     HOGAN & HARTSON, L.L.P.
 2   1999 Avenue of the Stars, Suite 1400
     Los Angeles, California 90067
 3   Telephone: (310) 785-4600
     Facsimile: (310) 785-4601
 4   E-mail: rjsamuel@hhlaw.com
 5   MARK R. CHESKIN (PRO HAC)
     BRIAN L. LERNER (PRO HAC)
 6   HOGAN & HARTSON, L.L.P.
     Mellon Financial Center
 7   1111 Brickell Avenue, Suite 1900
     Miami, Florida 33131
 8   Telephone: (305) 459-6500
     Facsimile: (305) 459-6550
 9   E-mail: mrcheskin@hhlaw.com
             bllerner@hhlaw.com
10
     Attorneys for Defendant/Counter-Plaintiff,
11   OFFICE DEPOT, INC.
12
                            UNITED STATES DISTRICT COURT
13
                         CENTRAL DISTRICT OF CALIFORNIA
14
                                    WESTERN DIVISION
15
16   ALBERT ANDY COHN, an individual,             Case No. CV 07-4330-GW(JTLx)
17                     Plaintiff,                 Assigned For All Purposes to The
                                                  Honorable George H. Wu
18         vs.
                                                  OFFICE DEPOT’S MEMORANDUM
19   OFFICE DEPOT, INC.,                          OF POINTS AND AUTHORITIES IN
     and DOES 1 through 20, inclusive,            SUPPORT THEREOF IN SUPPORT
20                                                OF ITS MOTION FOR SUMMARY
                       Defendants.                JUDGMENT [FRCP 56] AND/OR
21                                                FOR ENTRY OF AN ORDER
                                                  SPECIFYING FACTS AS
22   OFFICE DEPOT, INC.,                          APPEARING WITHOUT
                                                  SUBSTANTIAL CONTROVERSY
23                     Counter-Plaintiff,         [FRCP 56(D)];
24   vs.                                          Statement of Uncontroverted Facts and
                                                  Conclusions of Law and Proposed
25   Albert Andy Cohn, an individual,             Order Filed Concurrently Herewith
26                     Counter-Defendant.         Date: March 10, 2008
                                                  Time: 8:30 a.m.
27                                                Place: Courtroom 10
28


                                                     OFFICE DEPOT’S MOTION FOR
                                                     SUMMARY JUDGMENT
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 4   Addisu v. Fred Meyer, Inc.,
 5         198 F.3d 1130 (9th Cir. 2000) ------------------------------------------------------ 6
 6   Anderson v. Liberty Lobby, Inc.,
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 2   Federal Rule of Civil Procedure 56 ------------------------------------------------------- 6
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     Summary of Argument
 3          In this breach of contract action, Plaintiff Albert Andy Cohn (“Cohn”) seeks
 4   to impose upon Office Depot, Inc. (“Office Depot”), obligations under an alleged
 5   oral contract (the “Cowie Agreement”) with Allied Office Supplies, Inc. (“Allied”).
 6   Specifically, Cohn contends that Office Depot assumed the Cowie Agreement in
 7   May 2006 when it acquired certain assets and certain liabilities of Allied under a
 8   confidential document entitled the “Stock Purchase Agreement (the “SPA”).”
 9   Cohn’s argument is unavailing as a matter of law.
10          The law is clear that a purchaser will be found to have assumed a liability only
11   under four very limited circumstances, none of which are applicable here. First, the
12   SPA makes clear that Office Depot assumed only those employment agreements and
13   arrangements enumerated in the contract.            While Cohn’s separate written
14
     employment agreement is enumerated in that contract, nowhere did Allied list or
15
     disclose the oral “Cowie Agreement.” Second, after consummating the transaction,
16
     Allied and Office Depot remained separate and independent entities. Third, Cohn
17
     has no evidence to establish that Office Depot merely is a continuation of Allied as
18
     Office Depot has spent substantial resources integrating those certain assets and
19
     certain liabilities it assumed into the Office Depot business model. Fourth, Cohn has
20
     no evidence to establish that the transaction was entered into fraudulently to escape
21
     liability for debts.
22
            Accordingly, even assuming that the Cowie Agreement is a contract that
23
     would bind Allied under California law (which it is not), Office Depot did not
24
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26
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28


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 1   assume that contract, and thus respectfully requests that this Court enter summary
 2   judgment in its favor.1
 3   II.   Statement of Facts
 4         A.     The Allied Transaction
 5         Office Depot conducts business via three divisions: North America Retail;
 6   North America Business Solutions; and International.          (SUF 1).     The Business
 7   Solutions Division (“BSD”) provides office supply products and services directly to
 8   businesses through a network of contract sales teams, telephone account managers,
 9   catalogs, direct mail, and multiple web sites. (SUF 2).
10         In May 2006, as part of its expansion of BSD, Office Depot acquired the
11   business of AOS Acquisition LLC f/k/a AOS Acquisition Corp. d/b/a Allied Office
12   Supplies and/or Allied Office Products (collectively “Allied”). (SUF 3). Allied was
13
     an independent dealer of office products and services including office supplies,
14
     break room and coffee services, janitorial supplies, computer products, custom
15
     printing, managed print services, promotional items, and office furniture and design,
16
     and had operations throughout the United States, in particular a strong presence in
17
     the Northeast. (SUF 4).
18
           With respect to the structure of the transaction, following months of arms-
19
     length negotiations, Office Depot and Allied agreed that Office Depot would acquire
20
     certain assets and certain liabilities of Allied, but not all of the assets and all of the
21
     liabilities of Allied. (SUF 5). To facilitate such an acquisition, Allied converted its
22
     corporation to an LLC and transferred some, but not all, of its assets and some, but
23
     not all, of its liabilities to a newly formed company called OCS Acquisition Corp.
24
25
26
     1      Office Depot is simultaneously filing its Response In Opposition to Cohn’s
27   Motion for Summary Judgment (“Opposition”), wherein it raises disputed issues of
     fact as to whether the Cowie Agreement is a contract under California law; and
28   whether Cohn breached the alleged terms of the Cowie Agreement. But for
     purposes of this Motion only, Office Depot will assume that the Cowie Agreement is
     a valid oral agreement between Cohn and Allied.
                                                      OFFICE DEPOT’S MOTION FOR
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 1   (“OCS”). (SUF 6). In turn, Office Depot purchased all of the outstanding stock of
 2   OCS. (SUF 7).2
 3                 GRAPHICAL REPRESENTATION OF TRANSACTION
 4          BEFORE TRANSACTION                                 AFTER TRANSACTION
 5
 6
                                             Office                 Allied        Office
 7       Allied                                                                   Depot
                                             Depot
 8
 9           Transfer
             of certain              Acquire
10                         OCS
             assets /
                           Corp.     OCS
11           liabilities             stock
12
13
14
           The terms and conditions of the transaction were memorialized in a
15
     confidential document entitled the “Stock Purchase Agreement” (the “SPA”). (SUF
16
     8). As the SPA between the parties demonstrates, Office Depot paid a significant
17
     amount of consideration for the stock of the newly formed company, OCS (i.e.
18
     Allied’s transferred assets and liabilities) at the time of closing. (SUF 9).
19
           B.        Office Depot and Allied Remain Separate Entities
20
           While Office Depot acquired the newly formed company OCS, Allied
21
     remained and continues to remain a separate and distinct entity for purposes of
22
     winding down Allied, and which kept any assets or liabilities not transferred to OCS.
23
     (SUF 10). Indeed, Allied is not, nor was it ever, controlled or operated in any way
24
     by Office Depot or OCS. (SUF 11). For example, Howard Brown, who is the
25
     Managing Member of Allied, has been the CEO of Allied before and after the
26
     transaction. (SUF 12). Moreover, although Mr. Brown and his son provided limited
27
28
     2     Cohn did not have any involvement in or knowledge of the details of the
     transaction between Office Depot and Allied. (SUF 27).
                                                            OFFICE DEPOT’S MOTION FOR
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 1   consulting services to Office Depot pursuant to a consulting agreement and a
 2   transition services agreement, those agreements terminated in December 2006.
 3   (SUF 13, 14). Further, at this time, none of Allied’s key shareholders listed at
 4   Schedule 1.1(g) of the SPA, were or are employees, officers, or directors with Office
 5   Depot. (SUF 14).
 6         C.    Office Depot Only Assumed Specified
 7               Allied Employment Agreements
 8         Through the transaction, Office Depot did not hire all of the employees at
 9   Allied and did not assume all of the employment contracts executed by Allied.
10   (SUF 15). Rather, Office Depot only assumed those Allied employment agreements
11   to the extent that such agreements are specifically listed on Schedule 4.12 of the
12   SPA and concern the individuals also set forth on Schedule 10.1(a) of the SPA.
13
     (SUF 15). The employment agreements and arrangements were listed one-by-one
14
     on Schedule 4.12 of the SPA, and were identified as both employment “agreements”
15
     and “arrangements” because not every Allied employee had a formal written
16
     contract. (SUF 16). For example, some employees’ arrangements with Allied were
17
     memorialized in offer letters or one page documents that Allied called a “Personnel
18
     Action Form.” (SUF 17). In regard to Cohn, however, the only employment
19
     agreement or arrangement identified on Schedule 4.12, and thus the only
20
     employment agreement or arrangement Office Depot assumed was the written
21
     “Employment Agreement, dated as of March 25, 2002.” (SUF 18).
22
           Leading up to the ultimate transaction, at no point during the due diligence or
23
     at any point prior to the execution of the SPA did Allied (a) provide Office Depot
24
     with a written description of what Cohn calls the “Cowie Agreement” or (b) verbally
25
     tell Office Depot about the “Cowie Agreement.” (SUF 19). In addition, Monica
26
     Leuchtefeld, the Executive Vice President of Office Depot who was responsible for
27
     the Business Development team at the time of the Allied transaction, personally
28


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                                             -4-   SUMMARY JUDGMENT
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 1   spoke with Mr. Brown prior to the execution of the SPA about rehiring Cohn (as
 2   Cohn had been employed previously with Office Depot). (SUF 20). Although Mr.
 3   Brown inquired whether Office Depot would have any hard feelings about
 4   employing Cohn, he never disclosed or even mentioned the purported Cowie
 5   Agreement. (SUF 21). Ultimately, the first time anyone from Allied notified Office
 6   Depot about the “Cowie Agreement” was after Mr. Cowie transitioned to a new
 7   sales position in July 2006, and thus over two months after the execution of the SPA.
 8   (SUF 22).
 9          D.    The Integration of the Specified
10                Acquired Allied Assets and Liabilities
11          Following the transaction, Office Depot has taken extensive steps to integrate
12   the business acquired from Allied into Office Depot’s BSD.          (SUF 23).     This
13
     integration has involved significant time and resources, as Office Depot has trained
14
     and hired new employees, developed different marketing packages, and generally
15
     incorporated new products and services into the Office Depot business model. (SUF
16
     23).   Further, while Office Depot hired many (but not all) of Allied’s sales
17
     employees, the hired employees are working within a new management structure
18
     and many are in new capacities. (SUF 24). In fact, as part of Office Depot’s
19
     integration efforts, former Allied employees that joined Office Depot and have
20
     remained employed with Office Depot have been in an ongoing process to convert to
21
     Office Depot’s sales and compensation structure. (SUF 24). Thus, Office Depot’s
22
     integration efforts have involved extensive time and resources. (SUF 25).
23
            E.    Office Depot’s Employment of Cohn
24
            After the closing of the SPA, Office Depot employed former Allied employee
25
     Cohn. (SUF 26). Because Office Depot carried over Allied’s commission and pay
26
     structure for former Allied employees, Office Depot automatically paid the former
27
     Allied employees in the Western Region, including Mr. Cohn, under exactly the
28


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 1   same commission structure as they had been paid previously by Allied. (SUF 28).
 2   Accordingly, Mr. Cohn was paid as he was paid by Allied, including the 5%
 3   commission he had been receiving at Allied for accounts serviced by Mr. Cowie.
 4   (SUF 29). Office Depot did not, however, agree to the continued payment of the 5%
 5   commission because of any Cowie Agreement or because Office Depot had any
 6   contractual obligation to pay this 5% commission or to transfer any of Mr. Cowie’s
 7   accounts to Cohn. (SUF 32).
 8   III.   Argument
 9          A.    Legal Standard
10          Summary judgment is appropriate if no genuine issue of material fact exists
11   and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P.
12   56(c); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). An issue is
13
     “genuine” if the evidence is such that a reasonable jury could return a verdict for the
14
     non-moving party, and an issue is “material” if its resolution could affect the
15
     outcome of the action. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
16
            In ruling on a motion for summary judgment, the moving party bears the
17
     initial burden to demonstrate the absence of any genuine issue of material fact. See
18
     Celotex, 477 U.S. at 323. Thereafter, the nonmoving party must “go beyond the
19
     pleadings and, by her own affidavits, or by the depositions, answers to
20
     interrogatories, and admissions on file, designate specific facts showing that there is
21
     a genuine issue for trial.” Id. at 324. When determining whether a genuine issue of
22
     material fact exists, the court views the evidence in the light most favorable to the
23
     non-moving party. See Anderson, 477 U.S. at 255. However, “[a] scintilla of
24
     evidence or evidence that is merely colorable or not significantly probative does not
25
     present a genuine issue of material fact” precluding summary judgment. Addisu v.
26
     Fred Meyer, Inc., 198 F.3d 1130, 1134 (9th Cir. 2000).
27
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 1         B.     Office Depot Did Not Assume the
 2                Cowie Agreement Through Its Transaction with Allied
 3         Under California law, the general rule is that a purchaser of assets, such as
 4   Office Depot, does not automatically assume the seller’s liabilities. See Ray v. Alad
 5   Corp., 19 Cal. 3d 22, 28 (Cal. 1977). Rather, a purchaser like Office Depot can only
 6   be held liable for the seller’s debts under four limited circumstances, which are as
 7   follows:
 8         (1)    the purchaser expressly or impliedly agrees to such assumption;
 9         (2)    the transaction amounts to a consolidation or merger of the two
                  corporations;
10         (3)    the purchasing corporation is merely a continuation of the selling
11                corporation; or
           (4)    the transaction is entered into fraudulently to escape liability for
12
                  debts.
13
     Id. Because none of the stated grounds for imposing liability on a purchaser are
14
     present here, Office Depot cannot be held liable for Allied’s alleged obligations
15
16
     under the Cowie Agreement as a matter of law. Accordingly, summary judgment

17   should be entered in Office Depot’s favor.

18                1.    Office Depot Did Not Assume Liability For

19                      The Cowie Agreement Under The SPA

20                      a.     The SPA Provides that Office Depot Only Assumed

21                             Cohn’s Written Employment Agreement, Dated
22                             March 25, 2002, and Not the Oral Cowie Agreement
23         Cohn first cannot establish that Office Depot expressly or impliedly assumed
24   the Cowie Agreement under the SPA. In this regard, the courts “first consider the
25   language of the purchase agreement itself.” Franklin v. USX Corp., 87 Cal. App. 4th
26   615, 621 (Cal. Ct. App. 2001). As the SPA makes clear, Office Depot assumed only
27   those contracts that were specifically described and listed by Allied.
28


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 1         The SPA specifically incorporates by reference all “schedules, exhibits and
 2   annexes” thereto. See SPA, p. 1. Schedule 10.1(b), entitled “Assumed Employment
 3   Agreement,” provides that only those contracts “included under ‘List of
 4   Employment Agreements’ on Schedule 4.12 to the extent providing for the current
 5   services of a sales person listed on Schedule 10.1(a)” were assumed under the SPA.
 6   See SPA, Schedule 10.1(b).      Accordingly, Office Depot only assumed those
 7   employment agreements set forth on Schedule 4.12 to the extent said employee was
 8   also identified on Schedule 10.1(a). Here, Cohn was identified on Schedule 10.1(a)
 9   and his written employment agreement was identified on Schedule 4.12. See SPA,
10   Schedule 4.12, List of Employment Agreement, No. 45; see also SPA, Schedule
11   10.1(a). No other agreements, verbal or otherwise, between Cohn and Allied, were
12   identified on Schedule 4.12.
13
           Importantly, Section 4.12 of the SPA, entitled “Material Contracts,”
14
     specifically provides:
15
           (a) Schedule 4.12 lists all written agreements, contracts, leases,
16         subleases and other binding commitments (or groups of related
           agreements, contracts and binding commitments with the same or
17
           related parties) (“Contracts”) to which the Company [Allied] or any
18         Subsidiary is a party or by which any of their respective assets or
19         properties are bound comprising of the following . . . Sales Associate
           and Sales Manager Contracts and Customer Contracts . . .
20
21   SPA, Schedule 4.12 (emphasis added).
22         Reading the forgoing sections and schedules together, on the face of the SPA,
23   Office Depot only assumed Cohn’s written agreement, and it did not assume any
24
25
26
27
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 1   other agreement with Cohn, nor did it even have notice of any other agreement with
 2   Cohn, under the SPA or otherwise. (SUF 15, 18).3
 3         Likewise, nowhere in the SPA is there any agreement suggesting that oral
 4   agreements need not be disclosed; rather, when a verbal agreement that was to be
 5   assigned did exist, Allied disclosed such an agreement to Office Depot. See SPA,
 6   Schedule 4.12, List of Customer Contracts, No. 10. Tellingly, however, Allied did
 7   not list the Cowie Agreement, and thus, it did not become part of the transaction
 8   between Allied and Office Depot.
 9         In fact, the undisputed evidence reveals that the first time anyone affiliated
10   with Allied discussed a purported “Cowie Agreement” with Office Depot was
11   months after the SPA was executed. See M. Brown E-mail to P. Welch, dated Aug.
12   8, 2006.4 Thus, given the unequivocal evidence that Office Depot did not even
13
14
15
     3       To the extent Section 10.1(b) is inconsistent with Schedule 10.1(b), in that it
16
     suggests Office Depot will honor all employment arrangements regardless of
17   whether they are listed on Schedule 4.12, the more specific provision – Schedule
     10.1(b) and Schedule 4.12 – must prevail under California law. See Scudder v.
18
     Perce, 159 Cal. 429, 433 (Cal. 1911) ( “[W]hen general and specific provisions of a
19   contract deal with the same subject-matter, the specific provisions, if inconsistent
20   with the general provisions, are of controlling force.”).
     4       Allied’s principals, who Cohn alleges were a part of the negotiations over the
21   purported Cowie Agreement, did not notify Office Depot of the existence of the
22   purported Cowie Agreement until after Office Depot’s transaction with Allied.
     (SUF 22); see also Brown Depo. at 57:16 – 58:9 (“Q: Did you have any discussions
23   with anyone at any time affiliated with Office Depot where you confirmed to them
24   the terms of Andy Cohn’s agreement with Allied as it related to the employment of
     Darren Cowie? . . . A: Yes. Q: When was the first such conversation? A: I think
25   around the – this is a very similar time. Could have been the end of July, beginning
26   of August. Q: Of 2006? A: Seven. Q: I’m sorry. 2007? A: Right.”); Aiello Depo.
     at 16:7-15 (“Q: You ended up actually saying in August 2007 is when you had the
27
     conversation with one of Office Depot’s attorneys relating to an arrangement
28   between Andy and Allied concerning Darren Cowie? A: Correct. Q: Was that the
     first time that you told anyone at Office Depot about this arrangement? A: Yes.”).
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 1   know about the Cowie Agreement, much less expressly or impliedly agree to assume
 2   the Cowie Agreement, there are no genuine issues of fact for trial.
 3                      b.     Office Depot Did Not Assume the
 4                             Cowie Agreement Through Partial Performance
 5         Office Depot anticipates that Cohn will argue that Office Depot is bound by
 6   the Cowie Agreement due to its payment of a 5% commission to Cohn on Mr.
 7   Cowie’s accounts. Cohn’s reasoning, however, ignores the entire body of law on
 8   successor liability, is inconsistent with California law, and is an unsupported legal
 9   theory. See Ray, 19 Cal. 3d at 28.
10         While the law is unequivocally clear that part performance is not a basis for
11   imposing successor liability, if the Court is inclined to create a new exception, the
12   Court should require Cohn to demonstrate that Office Depot’s payment of the 5%
13
     commission was in furtherance of the Cowie Agreement. This reasoning finds
14
     support in California statute of frauds cases, wherein the law is clear that part
15
     performance of an oral contract is significant only if the performance clearly relates
16
     to the alleged contract. See Am. Cas. Co. v. Curran Prods., Inc., 212 Cal. App. 2d
17
     386, 392-93 (Cal. Ct. App. 1963). As stated by the Court:
18
           The acts relied on must clearly appear to have been performed in
19         pursuance of a particular contract itself and not because of the
20         existence of some other contractual relationship or for some other
           reason. It is not enough, therefore, that the acts of part performance
21         relied on amo[unt] to evidence of some contractual agreement. The
22         acts in question must constitute unequivocal and satisfactory evidence
           only of the contract sought to be removed from the operation of the
23         statute.
24
     Id. at 392-93 (citing 23 California Jurisprudence 2d, Statute Of Frauds, Section 129,
25
     page 400); see also Paul v. Layne & Bowler Corp., 9 Cal. 2d 561, 564 (Cal. 1937)
26
     (holding that “the part performance must relate to the transaction involved”).
27
     Similarly, if the Court were to change the well-settled law of successor liability, the
28


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 1   Court should, at a minimum, impose this requirement on Cohn, and require him to
 2   show that Office Depot’s payment of the 5% commission was performed in
 3   furtherance of the Cowie Agreement, and not for some other reason.
 4         Turning to the record evidence here, Cohn has not set forth any facts
 5   demonstrating that Office Depot’s payment of the 5% commission in any way
 6   reflects its assent to, or even awareness of, the Cowie Agreement. In fact, Office
 7   Depot did not have any knowledge of the alleged Cowie Agreement from either
 8   Cohn or Allied at the time of the Allied transaction. (SUF 22). Rather, after the
 9   closing, Office Depot simply carried over Allied’s commission and pay structure,
10   and automatically paid employees as they had been paid previously by Allied.
11   (SUF 28). Only months later did Office Depot become aware of a purported Cowie
12   Agreement. The fact that Office Depot voluntarily agreed to keep in place how
13
     Cohn was historically paid does not constitute any sort of assent to the entire Cowie
14
     Agreement (as Office Depot expressly denied any such agreement including any
15
     requirement to transfer accounts to Cohn).        Accordingly, Cohn cannot prevail
16
     pursuant to his unsupported “part performance” theory.5
17
                 2.     Office Depot and Allied Remain Two Separate Companies
18
           In determining whether Office Depot assumed the Cowie Agreement, the
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     Court must next consider whether the transaction between Allied and Office Depot
20
     amounted to a consolidation or merger of the two companies. See Franklin, 87 Cal.
21
     App. 4th at 625. In making this determination, courts pay particular attention to
22
     whether the purchaser corporation paid adequate consideration for the seller’s assets.
23
24
     5      Cohn also suggests that Office Depot should not have requested a written
25   agreement from Cohn, stating that “[t]here is no requirement that an agreement must
     be in writing to be enforceable.” Cohn’s Memo. Support Mot. Summ. J. at 7.
26   Cohn’s argument, however, is unavailing, as Cohn’s Employment Agreement
     required all amendments to be in writing. (SUF 18). In addition, Office Depot
27   acquired only those employment agreements to the extent that such agreements were
     listed on Schedule 4.12 of the SPA and concerned individuals also set forth on
28   Schedule 10.1(a) of the SPA, and thus, the company logically needed to see any
     purported contract to determine whether or not the purported “Cowie Agreement”
     was one of the agreements assumed under the SPA.
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 1   See id. at 627 (“[T]he common denominator, which must be present in order to avoid
 2   the general rule of successor non-liability, is the payment of inadequate
 3   consideration.”).   Thus, if inadequate consideration was paid, courts may find
 4   successor liability. See id. In addition, California courts consider the following five
 5   factors in determining whether a transaction styled as an asset purchase is a de facto
 6   merger:    (1) was the consideration paid for the assets solely the stock of the
 7   purchaser or its parent; (2) did the purchaser continue the same enterprise after the
 8   sale; (3) did the shareholders of the seller become shareholders of the purchaser; (4)
 9   did the seller liquidate; and (5) did the buyer assume the liabilities necessary to carry
10   on the business of the seller. See Franklin, 87 Cal. App. 4th at 626 (citing Marks v.
11   Minn. Mining & Mfg. Co., 187 Cal. App. 3d 1429, 1436 (Cal. Ct. App. 1986)).
12         In the instant case, Office Depot has presented undisputable evidence that
13
     Office Depot paid significant consideration for the purchase of certain of Allied’s
14
     assets. (SUF 9). Thus, Office Depot does not fall within the exception to the
15
     general rule of successor non-liability. See Sunnyside Dev. Co., LLC v. OPSYS Ltd.,
16
     No. C 05 0553 MHP, 2007 WL 2562142, *9 (N.D. Cal. Aug. 29, 2007) (“[A] de
17
     facto merger requires a showing that the purchaser paid inadequate consideration for
18
     the seller’s assets. . . . California courts justify this rigid rule by citing the need for
19
     predictability in the field of corporate assets transfers.”); see also Steenolsen v.
20
     Squaw Valley SLI Corp., Case No. BC 243817, 2004 WL 5175941, *7 (Cal. Super.
21
     Ct. Nov. 7, 2004) (“Without this factor of inadequate consideration, there was no de
22
     facto merger, nor could K2A [the purchaser] be deemed a mere continuation of
23
     Morrow Oregon [the seller].”).
24
           Even if the Court looks beyond the consideration Office Depot paid for
25
     Allied, the facts reveal that Allied and Office Depot remain separate corporate
26
     entities and did not in fact merge or consolidate. (SUF 10). Indeed, an examination
27
     of each company’s officers and directors demonstrates that the two companies are
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 1   not the same. (SUF 11, 14). Although Mr. Brown and his son provided consulting
 2   services after the closing of the SPA pursuant to two contracts, those contracts
 3   expired in December 2006. (SUF 13, 14). Further, Allied was still an ongoing
 4   entity until at least October 2007 (over a year after the transaction), and Mr. Brown
 5   remains the CEO. (SUF 10, 12).
 6          In addition, Office Depot has not continued to operate Allied as the same
 7   enterprise following the transaction. Rather, Office Depot has spent significant
 8   resources integrating Allied into Office Depot’s Business Solutions Division. (SUF
 9   23, 25). Specifically, Office Depot has offered training to the employees, developed
10   new marketing initiatives, engaged in the process of converting former Allied
11   employees into Office Depot’s sales and compensation structure, and generally
12   incorporated new products and services into the Office Depot business model. (SUF
13
     23, 24, 25). Accordingly, because all of the evidence shows that Office Depot and
14
     Allied remain separate corporate entities, there are no genuine issues for trial on the
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     de facto merger theory, and Office Depot is entitled to summary judgment as a
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     matter of law.
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                  3.    Office Depot Is Not a Mere Continuation of Allied
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            Cohn also will not be able to present any evidence indicating that Office
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     Depot is a mere continuation of Allied. Under California law, this exception applies
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     upon a showing that “(1) no adequate consideration was given for the predecessor
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     corporation’s assets and made available for meeting the claims of its unsecured
22
     creditors,” or “(2) one or more persons were officers, directors, or stockholders of
23
     both corporations.” Ray, 19 Cal. 3d at 29. Here, as discussed above, Office Depot
24
     paid Allied substantial consideration for the transaction, and Office Depot does not
25
     have any of the same officers, directors, or major stockholders as Allied. (SUF 9,
26
     14).   Accordingly, Office Depot has demonstrated that this exception is not
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     applicable as a matter of law.
28


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 1               4.     Neither Allied Nor Office Depot Entered Into
 2                      the SPA to Fraudulently Escape Liability for Debts
 3         The final question for the Court’s consideration is whether Cohn can establish
 4   that Office Depot and Allied entered into the transaction to fraudulently escape
 5   liability for debts. The answer is unequivocally no. Rather, Allied and Office Depot
 6   “determined that it [wa]s in the best interests of their respective companies and
 7   stockholders to consummate the transactions contemplated by” the SPA. See SPA,
 8   Recital E. Thus, because there is, quite simply, no evidence that the parties entered
 9   into this transaction with a fraudulent purpose, the fraudulent transfer exception
10   cannot apply as a matter of law.
11   IV.   Conclusion
12         For these reasons, Office Depot respectfully requests that the Court enter final
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     summary judgment in Office Depot’s favor and against Cohn as Office Depot did
14
     not assume the “Cowie Agreement.”
15
     Dated: February 15, 2008              HOGAN & HARTSON, L.L.P.
16
17
18                                         By: /s/ Robin J. Samuel
                                             Mark R. Cheskin
19                                           Robin J. Samuel
20                                           Brian L. Lerner
                                             Attorneys for Defendant/Counter-Plaintiff
21                                           OFFICE DEPOT, INC.
22
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 1                                     PROOF OF SERVICE
 2   STATE OF CALIFORNIA                )
                                        ) ss.
 3   COUNTY OF LOS ANGELES              )

 4   I am employed in the County of Los Angeles, State of California. I am over the age of
     eighteen and not a party to the within action; my business address is: HOGAN &
 5   HARTSON, LLP, 1999 Avenue of the Stars, Suite 1400, Los Angeles, CA 90067.

 6   On February 15, 2008, I caused the foregoing documents described as:

 7      OFFICE DEPOT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
         SUPPORT THEREOF IN SUPPORT OF ITS MOTION FOR SUMMARY
 8     JUDGMENT [FRCP 56] AND/OR FOR ENTRY OF AN ORDER SPECIFYING
       FACTS AS APPEARING WITHOUT SUBSTANTIAL CONTROVERSY [FRCP
 9                                56(D)]

10   to be served on the interested parties in this action by placing the original X a true copy
     thereof enclosed in sealed envelopes addressed as follows:
11   Robert S. Chapman (rchapman@ggfirm.com)
     Julia Rhea Haye (jhaye@ggfirm.com)
12   Stephen S Smith (ssmith@ggfirm.com)
     Greenberg Glusker Fields Claman & Machtinger LLP
13   1900 Avenue Of The Stars
     21st Floor
14   Los Angeles, California 90067
15   [X] BY MAIL. I am “readily familiar” with the firm’s practice of collection and
         processing correspondence for mailing. Under that practice it would be deposited
16       with U.S. postal service on that same day with postage thereon fully prepared at Los
         Angeles, California in the ordinary course of business. I am aware that on motion of
17       the party served, service is presumed invalid if postal cancellation date or postage
         meter date is more than one day after date of deposit for mailing in affidavit.
18
     [ ]    BY HAND DELIVERY. I caused such envelope to be delivered by hand to the
19          offices of the addressee(s) following ordinary business practices.
20   [ ]    BY FACSIMILE. I caused such document(s) to be delivered by facsimile to the
            offices of the addressee(s) following ordinary business practices from the following
21          facsimile machine (310) 785-4601:
            Upon completion of the said facsimile machine transmission, the transmitting
22          machine issued a transmission report showing the transmission was complete
            and without error. A copy of said transmission report is attached hereto.
23
     [X]    BY ELECTRONIC SERVICE. I caused such document(s) to be delivered in PDF
24          format when the attached document was e-filed with the Clerk of the Court using
            the CM/ECF system which will automatically send notification of such filing to the
25          e-mail addresses listed above:
26   [ ]    BY FEDERAL EXPRESS. I caused such document to be delivered by overnight
            mail to the offices of the addressee(s) by placing it for collection by Federal express
27          following ordinary business practices by my firm, to wit, that packages will either
            be picked up from my firm by Federal Express and/or delivered by my firm to the
28          Federal express office.
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 1         [X]   (Federal)    I declare under penalty of perjury under the laws of the United
                 States of America that the foregoing is true and correct. Executed on
 2               February 15, 2008, at Los Angeles, California.
 3
            CARMELA ELIAS                                /s/ Carmela Elias
 4   Print Name                                    Signature
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